214 F.2d 351
    Harold J. GIBBONS, Appellant,v.UNITED STATES of America.
    No. 15040.
    United States Court of Appeals Eighth Circuit.
    June 30, 1954.
    
      1
      Appeal from the United States District Court for the Eastern District of Missouri.
    
    
      2
      Stanley M. Rosenblum, Mortimer Rosecan, St. Louis, Mo., and Merle L. Silverstein, University City, Mo., for appellant.
    
    
      3
      Harry Richards, U.S. Atty., St. Louis, Mo., and Max Goldschein, Sp. Asst. to Atty. Gen., for appellee.
    
    
      4
      Appeal from District Court dismissed, on motion of appellant.
    
    